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U.S. v. Crawford Feiony Adoit Defendant Crlmma ase

 

 

 

 

l]. OFFENSE(S) CH ARGED (Cite U.S. Code, Title & Settiorl) ll' more than one offense, list (up to ftve) major nlfmses charged,accordingto severity q_£!rt_»:t't`eri_se7 - , `,

l) is 472.F -- PASSES COUNTERFElT OBLIGATIONS OR SECURITIES Ci-FE of i__- w.
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12. ATTORNEv‘s NAME grimmme,ro.i.,cmmm.inouni..g.nymmn 13. coURT 0RDER V'i'@ 115 ,i.` ..TPHi`é
ANP MAILING ADDRE S [Z 0 Appo'mtinz Counsei m C Co-Connsei ' “'" 'V
W€ll'\man, Bem ard l:l F Suhs F or Federal Defender i:l R Subs For Reta|ned Attorney
275 JEFFERSON AVE i:l l' SubsFor PanelAttorney E] Y Standby Counsel
MEMPHIS 'I'N 3 8103 Prior Mtornc_v‘s Nlt\‘ie:

 

Appointmeot Date: ___ __
l:l Becaose the above-named person represented hal testified under oath or has
otherwise satisfied this enurt that he or she (l) ls Bnanci u;mhle to employ ccal
(l) does Wo waive counsel, and because the i rests;.dfjustice so reqoi:p“ he
hip ama appears in item 1 ' ap o|n to represent this per l this case.

 
  
  

Teiephone Numhes:

14. N.»\ME AND MA]L|NG ADDRESS OF LAW FIRM (onl)l provide perinstructions]
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c the Court

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ii R.’ €/‘) fin §
7 Date ofOrder Nonc Pro Tunc Dale
Repayment or partial repayment ordered from the person represented for this service at
time oi' appointmeot. ij YES ij NO
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cArEcoRlEs much itemization ar services with duces "OURS AMoUNT ADJUSTED ADJusTEo ADDm°N/*L
) CL*“MED cLAlMEI) norms AMouN'r REVIEW
15. a. Arraignment and/or Piea
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C e. Sentencing Hearings
3 f. Revocation Hearings
:' g. Appeals Court
h. Other (Specify on additional sheets)
(Rate per hour “ 5 ) TOTALS:
16. a. Interviews and Conferenees
g b. Obtaining and reviewing records
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‘ (Rm per hour = s ) TOTALS:
17. Travel Expenses (lodging, parking. meais. milea¢e, etc.)
Other Expenses (other than expert, transcripts, etc.)
19. CERTIFICA'IION OF ATTORNEY!PAYEE FOR THE PERIOD 0 F SERVlCE 20. APPOINTMENT TERM|NAT|ON DATE ll. CASE DISPO SlTION
FROM To lF 0THER THAN cAsE COMPLETloN
22. C LAIM STATUS Ei Fiaa] Payment m Iaterim Payment Nucnher i:l Supplemental l'aymen|

Have you previously applied to the court for compensation and.'or semimbursemellt for this cose? l:l YES I] NO ll'yes, were you paid? [:] YES m NO
Other than from the coort. have you, or toyour knowledge has anyone elae, received payment (compensatinn or anything or value} l'rom any other source in connection with this
representation'.’ YES [] NO lfyel. give details on additional sheets.

I swear or affirm the truth or correctness of the above statements.

      
  
   

Signatnre ol'Attorney:

 

 

  
    
 

     

 

 

 

 

 

. lN COURT COMP. 24. OUT OF COUR'I` COMP. h 25. TRAVEL EXPENSES 26. OTHER EXPENSES Z‘i'. TOTAL AMT. AP}’RICERT
28. SIGNATURE OF THE PRESlDlNG JUDICIAL OFFICER DATE lRa. JUDGE f MA(;. JUDGE CODE
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with Rule 55 ano/oraz{b) FRch on 'I "

 

 

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Timothy R. DiScana

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Honorablc Bcrnicc Donald
US DISTRICT COURT

